          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 1 of 29 Page ID #:109



                     1   Jason C. Murray (State Bar No. 169806)
                           JMurray@crowell.com
                     2   CROWELL & MORING LLP
                         515 South Flower Street, 40th Floor
                     3   Los Angeles, CA 90071
                         Telephone: 213.622.4750
                     4   Facsimile: 213.622.2690
                     5   Shira Rebecca Liu (State Bar No. 274158)
                           SLiu@crowell.com
                     6   David Charles Griffith (State Bar No. 329342)
                           DGriffith@crowell.com
                     7   CROWELL & MORING LLP
                         3 Park Plaza, 20th Floor
                     8   Irvine, CA 92614
                         Telephone: 949.263.8400
                     9   Facsimile: 949.263.8414
                    10   Attorneys for Defendant Prime Therapeutics
                         LLC
                    11

                    12

                    13                        UNITED STATES DISTRICT COURT
                    14                       CENTRAL DISTRICT OF CALIFORNIA
                    15

                    16   AIDS Healthcare Foundation,                  Case No. 2:21-cv-04979-DSF-AGR
                    17                  Plaintiff,                    DEFENDANT PRIME
                    18         v.                                     THERAPEUTICS LLC’S NOTICE
                                                                      OF MOTION AND MOTION TO
                    19   Prime Therapeutics LLC,                      DISMISS PLAINTIFF’S
                    20                  Defendant.                    COMPLAINT; MEMORANDUM
                                                                      OF POINTS AND AUTHORITIES
                    21
                                                                      IN SUPPORT OF MOTION TO
                    22                                                DISMISS
                    23
                                                                      Date:    October 18, 2021
                    24                                                Time:    1:30 p.m.
                                                                      Ctrm.: 7D (1st Street)
                    25                                                Judge: Honorable Dale S. Fischer
                                                                      Date Action Filed:   June 18, 2021
                    26

                    27

                    28
  CROWELL
& MORING LLP                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW                                                                                MOTION TO DISMISS
                                                                                     CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 2 of 29 Page ID #:110



                     1                                  NOTICE OF MOTION
                     2         PLEASE TAKE NOTICE that on October 18, 2021 at 1:30 p.m. or as soon
                     3   thereafter as counsel may be heard before the Honorable Dale S. Fischer, in
                     4   Courtroom 7D of the United States District Court, First Street Courthouse, 350
                     5   West 1st Street, Los Angeles, California, Defendant Prime Therapeutics LLC
                     6   (“Prime”) will, and hereby does, move pursuant to Federal Rule of Civil Procedure
                     7   12(b)(6) to dismiss all claims brought against it in Plaintiff AIDS Healthcare
                     8   Foundation’s (“AHF”) Complaint (“Complaint” or “Compl.”), Dkt. No. 1, filed
                     9   June 18, 2021, for failure to state a claim.
                    10         Defendant Prime seeks an order pursuant to Rule 12(b)(6) dismissing with
                    11   prejudice the Complaint, or in the alternative, to compel arbitration of Plaintiff’s
                    12   claims. Prime’s motion to dismiss is based on this Notice of Motion and Motion,
                    13   the following Memorandum of Points and Authorities, all pleadings on file in this
                    14   action, and any argument that counsel may present to this Court.
                    15

                    16   Dated: August 13, 2021                         CROWELL & MORING LLP
                    17

                    18                                                  By: /s/ Jason C. Murray
                                                                           Jason C. Murray
                    19                                                     Shira Rebecca Liu
                                                                           David Charles Griffith
                    20
                                                                           Attorneys for Defendant
                    21                                                     Prime Therapeutics LLC
                    22

                    23

                    24

                    25

                    26

                    27

                    28
  CROWELL
& MORING LLP                                                                       DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW                                                                                    MOTION TO DISMISS
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 3 of 29 Page ID #:111



                     1                                           TABLE OF CONTENTS
                     2                                                                                                                    Page
                     3   I.     Introduction .................................................................................................... 1
                     4   II.    Factual Background ........................................................................................ 2
                     5   III.   Argument........................................................................................................ 4
                     6          A.       AHF Cannot Bring Its Antitrust Claims Because It Has Not and
                                         Cannot Plead Antitrust Injury .............................................................. 4
                     7
                                         1.        AHF Does Not Allege Any Unlawful Conduct.......................... 5
                     8
                                         2.        AHF Does Not Allege Injury Which Flows From
                     9                             Allegedly Anticompetitive Conduct .......................................... 7
                    10                   3.        AHF Does Not Allege That the Prime-ESI Collaboration
                                                   Injured AHF In A Manner Which the Antitrust Laws
                    11
                                                   Were Designed to Prevent.......................................................... 8
                    12
                                B.       AHF’s Antitrust Claims Fail to Allege a Per Se Violation ................... 9
                    13          C.       AHF’s Antitrust Claims Fail to Allege Sufficient Facts to State a
                    14                   Rule of Reason Violation ................................................................... 14
                    15          D.       UCL Claim Must Be Dismissed ......................................................... 16

                    16
                                E.       AHF’s Claim Violates The Parties’ Contract for A One-Year
                                         Limitation on Actions......................................................................... 17
                    17
                                F.       AHF Should Be Compelled To Arbitrate If Its Claims Are Not
                    18                   Dismissed ........................................................................................... 18
                    19   IV.    Conclusion .................................................................................................... 20
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
  CROWELL
& MORING LLP
                                                                                                         DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                                   -i-                                     MOTION TO DISMISS
                                                                                                               CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 4 of 29 Page ID #:112



                     1                                         TABLE OF AUTHORITIES
                     2
                                                                                                                                       Page(s)
                     3
                         Federal Cases
                     4
                         Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of California,
                     5
                           190 F.3d 1051 (9th Cir. 1999) (Sherman Act)...................................................... 5
                     6
                         In re Animation Workers Antitrust Litig.,
                     7       87 F. Supp. 3d 1195 (N.D. Cal. 2015) .......................................................... 18, 19
                     8
                         Atl. Richfield Co. v. USA Petroleum Co.,
                     9       495 U.S. 328 (1990) ..................................................................................... 1, 4, 7
                    10   Bank of America, N.A. v. Micheletti Family Partnership,
                    11     No. 08–02902(JSW), 2008 WL 4571245 (N.D. Cal. Oct. 14, 2008).................. 19
                    12   Bay Area Surgical Mgmt. LLC v. Aetna Life Ins. Co.,
                           166 F. Supp. 3d 988 (N.D. Cal. 2015) ................................................................ 14
                    13

                    14   Bischoff v. DirecTV, Inc.,
                            180 F. Supp. 2d 1097 (C.D. Cal. 2002) .............................................................. 19
                    15

                    16
                         Brantley v. NBC Universal, Inc.,
                            675 F.3d 1192 (9th Cir. 2012) ............................................................................ 15
                    17
                         Broad. Music, Inc. [BMI] v. Columbia Broad. Sys., Inc.,
                    18      441 U.S. 1 (1979) ........................................................................................ passim
                    19
                         Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,
                    20      429 U.S. 477 (1977) ..................................................................................... 4, 5, 8
                    21   California Pharmacy Mgmt., LLC v. Zenith Ins. Co.,
                    22     No. SA-CV-09242-DOC-ANX, 2010 WL 11519328 (C.D. Cal.
                           Dec. 1, 2010) ........................................................................................................ 5
                    23

                    24
                         Cascade Health Sols. v. PeaceHealth,
                           515 F.3d 883 (9th Cir. 2008) ................................................................................ 1
                    25
                         Castro v. Sanofi Pasteur Inc.,
                    26
                           No. CV 11-7178 (JLL), 2012 WL 12516573 (D.N.J. Dec. 20, 2012) ................ 13
                    27

                    28
  CROWELL
& MORING LLP                                                                                             DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                                    -ii-                                   MOTION TO DISMISS
                                                                                                               CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 5 of 29 Page ID #:113



                     1   Dimidowich v. Bell & Howell,
                     2     803 F.2d 1473 (9th Cir. 1986), opinion modified on denial of reh’g,
                           810 F.2d 1517 (9th Cir. 1987) ............................................................................ 10
                     3
                         Evac v. Pataki,
                     4
                           89 F. Supp. 2d 250 (N.D.N.Y. 2000).................................................................... 9
                     5
                         FashionPass, Inc. v. Rent the Runway, Inc.,
                     6      No. CV 19-3537-GW(JCX), 2019 WL 3782332 (C.D. Cal. June 24,
                     7      2019)..................................................................................................................... 9
                     8   Fedway Assocs., Inc. v. United States Treasury, Bureau of Alcohol,
                           Tobacco & Firearms,
                     9
                           976 F.2d 1416 (D.C. Cir. 1992).......................................................................... 13
                    10
                         Galvez v. Anheuser-Busch, Ltd. Liab. Co.,
                    11     No. 2-17-00621 WBS DB, 2017 U.S. Dist. LEXIS 152382 (E.D.
                    12     Cal. Sep. 19, 2017) ............................................................................................. 18
                    13   Garrison v. Oracle Corp.,
                    14
                           159 F. Supp. 3d 1044 (N.D. Cal. 2016) .............................................................. 17

                    15   Gerlinger v. Amazon.com, Inc.,
                           311 F. Supp. 2d 838 (N.D. Cal. 2004) .................................................................. 6
                    16

                    17
                         GreenCycle Paint, Inc. v. PaintCare, Inc.,
                           250 F. Supp. 3d 438 (N.D. Cal. 2017) .................................................................. 4
                    18
                         Henry Schein, Inc. v. Archer & White Sales, Inc.,
                    19     139 S. Ct. 524 (2019) ......................................................................................... 19
                    20
                         Hip Hop Beverage Corp. v. Monster Energy Co.,
                    21      733 F. App’x 380 (9th Cir. 2018) ......................................................................... 5
                    22   Jain Irrigation, Inc. v. Netafim Irrigation, Inc.,
                    23      386 F. Supp. 3d 1308 (E.D. Cal. 2019) .............................................................. 14
                    24   Kelsey K. v. NFL Enters., LLC,
                    25      757 F. App’x 524 (9th Cir. 2018) ....................................................................... 16

                    26   Kendall v. Visa U.S.A., Inc.,
                           518 F.3d 1042 (9th Cir. 2008) .............................................................................. 5
                    27

                    28   Langston Corp. v. Standard Reg. Co.,
  CROWELL
                           553 F. Supp. 632 (N.D. Ga. 1982)...................................................................... 13
& MORING LLP                                                                                                DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                                      -iii-                                  MOTION TO DISMISS;
                                                                                                                  CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 6 of 29 Page ID #:114



                     1   Leegin Creative Leather Prod., Inc. v. PSKS, Inc.,
                     2      551 U.S. 877 (2007) ........................................................................................... 11

                     3   Les Shockley Racing, Inc. v. Nat’l Hot Rod Ass’n,
                            884 F.2d 504 (9th Cir. 1989) .............................................................................. 15
                     4

                     5   Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,
                            473 U.S. 614 (1985) ........................................................................................... 18
                     6
                         Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
                     7
                           460 U.S. 1 (1983) ............................................................................................... 19
                     8
                         name.space, Inc. v. Internet Corp. for Assigned Names & Nos.,
                     9     795 F.3d 1124 (9th Cir. 2015) ............................................................................ 15
                    10
                         NCAA v. Alston,
                    11     141 S. Ct. 2141 (2021) ........................................................................... 10, 11, 14
                    12   Newman v. Universal Pictures,
                    13     813 F.2d 1519 (9th Cir. 1987) .............................................................................. 8
                    14   Nokia Corp. v. AU Optronics Corp.,
                    15
                           No. C 09-05609 SI, 2011 WL 2650689 (N.D. Cal. July 6, 2011) ...................... 19

                    16   NSS Labs, Inc. v. Symantec Corp.,
                           No. 18-CV-05711-BLF, 2019 WL 3804679 (N.D. Cal. Aug. 13,
                    17     2019)................................................................................................................... 11
                    18
                         Nw. Wholesale Stationers, Inc. v. Pac. Stationery & Printing Co.,
                    19     472 U.S. 284 (1985) ........................................................................................... 13
                    20   Ohio v. American Express Co.,
                    21     138 S. Ct. 2274 (2018) ................................................................................. 11, 15
                    22   Orchard Supply Hardware (“OSH”) LLC v. Home Depot USA, Inc.,
                    23
                           939 F. Supp. 2d 1002 (N.D. Cal. 2013) .............................................................. 16

                    24   Orion Pictures Distr. Corp. v. Syufy Enters.,
                            829 F.2d 946 (9th Cir. 1987) ................................................................................ 8
                    25

                    26   Paladin Assocs. v. Mont. Power Co.,
                            328 F.3d 1145 (9th Cir. 2003) ...................................................................... 11, 12
                    27
                         Pool Water Prods. v. Olin Corp.,
                    28
                           258 F.3d 1024 (9th Cir. 2001) .............................................................................. 9
  CROWELL
& MORING LLP                                                                                               DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                                     -iv-                                   MOTION TO DISMISS;
                                                                                                                 CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 7 of 29 Page ID #:115



                     1   Prime Healthcare Servs., Inc. v. Serv. Emps. Int’l Union,
                     2      642 F. App’x 665 (9th Cir. 2016) ......................................................................... 5

                     3   Rebel Oil Co. v. Atl. Richfield Co.,
                           51 F.3d 1421 (9th Cir. 1995) ................................................................................ 7
                     4

                     5   Ryan v. Microsoft Corp.,
                           147 F. Supp. 3d 868 (N.D. Cal. 2015) ................................................................ 17
                     6
                         Simula, Inc. v. Autoliv, Inc.,
                     7
                            175 F.3d 716 (9th Cir. 1999) .............................................................................. 18
                     8
                         Somers v. Apple, Inc.,
                     9     729 F.3d 953 (9th Cir. 2013) ................................................................................ 5
                    10
                         Song Fi, Inc. v. Google, Inc.,
                    11      No. C 14-5080 CW, 2016 WL 1298999 (N.D. Cal. Apr. 4, 2016) ....................... 9
                    12   Tanaka v. Univ. of S. Cal.,
                    13     252 F.3d 1059 (9th Cir. 2001) ............................................................................ 15
                    14   Texaco Inc. v. Dagher,
                    15
                            547 U.S. 1 (2006) ............................................................................................... 11

                    16   United States v. Brown Univ. in Providence in State of R.I.,
                           5 F.3d 658 (3d Cir. 1993) ................................................................................... 10
                    17

                    18
                         United States v. Ritchie,
                           342 F.3d 903 (9th Cir. 2003) .............................................................................. 12
                    19
                         United States v. Socony–Vacuum Oil Co.,
                    20     310 U.S. 150 (1940) ........................................................................................... 11
                    21
                         United States v. Trenton Potteries,
                    22     273 U.S. 392 (1927) ........................................................................................... 11
                    23   W. Parcel Express v. UPS of Am.,
                    24      190 F.3d 974 (9th Cir. 1999) .............................................................................. 13
                    25   Z Channel Ltd. P’ship v. HBO, Inc.,
                    26      931 F.2d 1338 (9th Cir. 1991) .............................................................................. 8

                    27   Zenith Radio Corp. v. Hazeltine Research, Inc.,
                            401 U.S. 321 (1971) ........................................................................................... 17
                    28
  CROWELL
& MORING LLP                                                                                           DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                                  -v-                                   MOTION TO DISMISS;
                                                                                                             CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 8 of 29 Page ID #:116



                     1   California Cases
                     2
                         Aguilar v. Atl. Richfield Co.,
                     3     92 Cal. Rptr. 2d 351 (Cal. Ct. App.), aff’d, 25 Cal. 4th 826, 24 P.3d
                           493 (Cal. 2001), as modified (July 11, 2001) ..................................................... 10
                     4

                     5   Chavez v. Whirlpool Corp.,
                           93 Cal. App. 4th 363 (2001) ............................................................................... 16
                     6
                         Crown Oil Corp. v. Superior Ct.,
                     7
                           177 Cal. App. 3d 604 (Cal. Ct. App. 1986) .......................................................... 7
                     8
                         Farmers Ins. Exchange v. Superior Court,
                     9     2 Cal. 4th 377 (1992) .......................................................................................... 16
                    10
                         Marin Cty. Bd. of Realtors, Inc. v. Palsson,
                    11     16 Cal. 3d 920 (Cal. 1976) ................................................................................. 10
                    12   Marsh v. Anesthesia Servs. Med. Grp., Inc.,
                    13     200 Cal. App. 4th 480 (Cal. Ct. App. 2011) ..................................................... 5, 9
                    14   Morrison v. Viacom, Inc.,
                    15
                           66 Cal. App. 4th 534 (1998) ......................................................................... 4, 5, 7

                    16   Reynolds v. California Dental Serv.,
                           200 Cal. App. 3d 590 (Cal. Ct. App. 1988) .................................................. 10, 14
                    17

                    18
                         Other State Cases

                    19   Peggy Rose Revocable Trust v. Eppich,
                           640 N.W. 2d 601 (Minn. 2002) .......................................................................... 17
                    20

                    21
                         California Statutes

                    22   Cal. Bus. & Prof. Code
                            § 16770(f)-(g) ..................................................................................................... 14
                    23      § 17200 ............................................................................................................... 16
                    24
                         Other Authorities
                    25
                         Fed. R. Civ. P. 12(b)(6) ........................................................................................... 20
                    26

                    27   PHILLIP E. AREEDA & HERBERT HOVENKAMP, ANTITRUST LAW: AN
                            ANALYSIS OF ANTITRUST PRINCIPLES AND THEIR APPLICATION (5th
                    28      ed., 2021 Cum. Supp. 2013-2020) ........................................................................ 5
  CROWELL
& MORING LLP                                                                                               DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                                     -vi-                                   MOTION TO DISMISS;
                                                                                                                 CASE NO. 2:21-CV-04979-DSF-AGR
          Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 9 of 29 Page ID #:117



                     1   US DOJ & FTC, IMPROVING HEALTH CARE: A DOSE OF COMPETITION,
                     2     Chapter 7: Industry Snapshot and Competition Law:
                           Pharmaceuticals 11 (2004) .................................................................................. 2
                     3

                     4

                     5

                     6

                     7

                     8

                     9

                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
  CROWELL
& MORING LLP                                                                                       DEFENDANT PRIME THERAPEUTICS LLC’S
ATTORNEYS AT L AW
                                                                              -vii-                                 MOTION TO DISMISS;
                                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 10 of 29 Page ID #:118



                     1                MEMORANDUM OF POINTS AND AUTHORITIES
                     2   I.    Introduction
                     3         AIDS Healthcare Foundation (“AHF”) brings this suit solely because, it
                     4   alleges, it is now reimbursed less than it was before for dispensing drugs to Prime
                     5   patients. Compl. ¶¶ 22, 36.1 AHF’s dissatisfaction with these reimbursements does
                     6   not create an antitrust claim, and AHF’s antitrust claims under the Sherman and
                     7   Cartwright Acts fail for multiple reasons that are fundamental to antitrust law.
                     8   First, AHF does not allege any anticompetitive conduct, let alone conduct that is
                     9   within the narrow scope of agreements as to which per se treatment is appropriate.
                    10   Second, AHF alleges not an anticompetitive harm but a competitive success – AHF
                    11   admits that Prime describes its collaboration with Express Scripts, Inc. (“ESI”) as
                    12   “designed to deliver more affordable care.” Compl. ¶ 9 (quoting Compl. Ex. 4 at
                    13   25).2 And “[l]ow prices benefit consumers regardless of how those prices are set.”
                    14   Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 340 (1990). AHF also fails
                    15   to allege any harm to competition. AHF may not like the ESI-Prime collaboration,
                    16   but “the antitrust laws’ prohibitions focus on protecting the competitive process and
                    17   not on the success or failure of individual competitors.” Cascade Health Sols. v.
                    18   PeaceHealth, 515 F.3d 883, 902 (9th Cir. 2008). AHF’s preference to receive
                    19   higher reimbursements does not entitle it to bring antitrust claims that seek to
                    20   punish core procompetitive behavior. These claims, along with AHF’s derivative
                    21   UCL claim, must be dismissed. They must also be dismissed for the independent
                    22   reason that they are all barred because they were brought too late under the contract
                    23   signed by AHF. Finally, any claims not dismissed by this Court should be
                    24   compelled to arbitration pursuant to the parties’ contractual agreement.
                    25

                    26   1
                           For the purpose of this motion to dismiss, Prime takes the allegations in AHF’s
                    27   Complaint as true, without waiving its right to factually dispute any allegation.
                         2
                    28     Page numbers for Complaint Exhibits refer to the page number stamped by the
  CROWELL
                         ECF system.
& MORING LLP
ATTORNEYS AT L AW
                                                                                  DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -1-                             MOTION TO DISMISS;
                                                                                        CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 11 of 29 Page ID #:119



                     1   II.   Factual Background
                     2         Defendant Prime is a pharmacy benefit manager, or PBM. PBMs are an
                     3   “important part of the process by which many American get their prescription
                     4   drugs.” Compl. at 3 n.1 (quoting Rutledge v. Pharm. Care Mgmt. Ass’n, 141 S. Ct
                     5   464, 478 (2020)). “PBMs serve as intermediaries between prescription-drug plans
                     6   and the pharmacies that beneficiaries use.” Id. (quoting Rutledge, 141 S. Ct at 478).
                     7   PBMs like Prime offer a variety of services in their role as intermediaries. These
                     8   services include pharmacy network development and maintenance, which requires
                     9   negotiation with large chain pharmacies and thousands of independent pharmacies.
                    10         Research shows that PBMs generally lower prescription drug costs for
                    11   customers. 3 This is especially true for Prime, which utilizes a pass-through PBM
                    12   model. Prime is owned by twelve entities representing nineteen not-for-profit Blue
                    13   Cross and Blue Shield Plans, subsidiaries or affiliates of those plans (collectively
                    14   referred to as “Blue Plans”). Compl. Ex. 8 at 48. This makes Prime the only major
                    15   PBM with a primary mission focused on driving savings. Prime’s clients include,
                    16   in addition to Prime’s owners, non-owner Blues Plans as well as other groups such
                    17   as employers and unions. Prime focuses on delivering the lowest net cost on
                    18   prescription medicines. Its savings are passed onto its clients in an effort to lower
                    19   the total cost of healthcare.
                    20         Plaintiff AHF is a pharmacy. AHF separately negotiated with Prime and
                    21   with Express Scripts, Inc (ESI), another PBM, to dispense drugs to patients whose
                    22   pharmacy benefits are administered by Prime with respect to Prime’s plan clients
                    23   and by ESI with respect to ESI’s clients. Compl. ¶ 18. A Pharmacy Participation
                    24

                    25   3
                          See US DOJ & FTC, IMPROVING HEALTH CARE: A DOSE OF COMPETITION, Chapter
                    26   7: Industry Snapshot and Competition Law: Pharmaceuticals 11 (2004),
                         https://www.justice.gov/sites/default/files/atr/legacy/2006/04/27/204694.pdf
                    27   (“[T]he empirical evidence suggests that consumers with prescription drug
                    28   insurance administered by a PBM save substantially on their drug costs as
  CROWELL
                         compared to cash-paying customers.”).
& MORING LLP
ATTORNEYS AT L AW
                                                                                  DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -2-                             MOTION TO DISMISS;
                                                                                        CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 12 of 29 Page ID #:120



                     1   Agreement (“PPA”), signed by Prime and AHF, “sets forth the terms and
                     2   conditions under which [AHF] will provide benefits in Prime’s pharmacy
                     3   networks,” including payment provisions. See RJN, Ex. 1 at 1, § 3.
                     4         In December 2019, Prime announced a three-year collaboration with ESI.
                     5   Compl. ¶¶ 9, 11. Each of Prime’s clients could elect whether to transition to ESI’s
                     6   commercial and Medicaid pharmacy networks, based on ESI’s pharmacy contracts
                     7   and made available to those plans as a result of the ESI-Prime collaboration, or
                     8   continue to use Prime’s negotiated rates. Compl. Ex. 7 at 34 (“ESI’s Medicare
                     9   network options are now available to Prime’s [clients], and they have the choice to
                    10   determine which pharmacy network(s) they will use to administer benefit plans.”)
                    11   (emphasis added). Clients that did elect to transition to ESI’s network then had
                    12   access to ESI’s reimbursement rates. Each of the clients opted to transition to ESI’s
                    13   networks. Compl. ¶ 14 (“Prime’s health plans will begin to transition to ESI’s . . .
                    14   networks”) (quoting Compl. Ex. 5 at 29).
                    15         Because each client opted to transition to ESI’s networks, ESI “handl[es]
                    16   negotiations for drugs on the pharmacy benefit,” Compl. Ex. 4 at 25, for the ESI
                    17   pharmacy contracts that make up the ESI networks. ESI also handles negotiations
                    18   with drug manufacturers covered under members’ prescription drug benefit.
                    19   Compl. Ex. 8 at 40. Pursuant to the ESI-Prime collaboration, Prime’s clients are
                    20   then able to utilize these rates negotiated by ESI for pharmacy benefits. Because all
                    21   of Prime’s clients opted to participate in ESI’s networks, when AHF dispenses a
                    22   drug for a covered Blue Plan member, AHF is now paid the rate that it previously
                    23   negotiated with ESI to be paid for the drug rather than the rate that it negotiated
                    24   with Prime to be paid for the drug. Compl. ¶ 20. AHF alleges that as a result it is
                    25   now reimbursed less than it was before. Id. ¶¶ 22, 36. AHF does not allege that
                    26   these reimbursement rates it negotiated with ESI pre-collaboration are below any
                    27   measure of its costs.
                    28
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -3-                              MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 13 of 29 Page ID #:121



                     1           AHF admits that Prime has publicly stated that the purpose of the ESI-Prime
                     2   collaboration is to “deliver more affordable care for clients and their members.”
                     3   Compl. ¶ 9 (quoting Compl. Ex. 4 at 25) (emphasis added). This statement is
                     4   consistent with Prime’s mission of low-cost prescription medicine to covered Blue
                     5   Plan members. It is also consistent with an analysis cited in AHF’s Complaint,
                     6   which predicts: “The Federal Trade Commission (FTC) will probably consider the
                     7   Express Scripts-Prime deal to be pro-competitive. That’s because the FTC will
                     8   likely determine that the arrangement lowers healthcare costs and will therefore be
                     9   beneficial to consumers.” Compl. Ex. 8 at 43.
                    10   III.    Argument
                    11           AHF’s claims must be dismissed. AHF does not allege antitrust injury and
                    12   cannot proceed. AHF attempts to rely only on a per se theory of violation, but does
                    13   not allege any conduct that meets the narrow exception where the per se theory
                    14   applies. Because AHF does not allege a viable antitrust claim, its parallel UCL
                    15   claim must also be dismissed. Further, AHF’s claims are time-barred by
                    16   contractual agreement and, in any event, if the Court declines to dismiss AHF’s
                    17   claims entirely, they should be sent to arbitration.
                    18           A.    AHF Cannot Bring Its Antitrust Claims Because It Has Not and
                                       Cannot Plead Antitrust Injury
                    19

                    20           In order to bring a claim under the Sherman or Cartwright Act, a plaintiff
                    21   must allege antitrust injury. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429
                    22   U.S. 477, 488 (1977) (Sherman Act); Morrison v. Viacom, Inc., 66 Cal. App. 4th
                    23   534, 548 (1998) (Cartwright Act). This is true even if a plaintiff alleges a per se
                    24   violation. Atl. Richfield Co., 495 U.S. at 341-45 (Sherman Act); GreenCycle Paint,
                    25   Inc. v. PaintCare, Inc., 250 F. Supp. 3d 438, 449 (N.D. Cal. 2017) (Cartwright
                    26   Act).
                    27           Antitrust injury is distinct from injury in fact because antitrust injury must
                    28   “reflect the anticompetitive effect either of the violation or of anticompetitive acts
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                    DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                     -4-                             MOTION TO DISMISS;
                                                                                          CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 14 of 29 Page ID #:122



                     1   made possible by the violation.” Brunswick, 429 U.S. at 489. The “antitrust injury
                     2   requirement often enables antitrust courts to dispose of more claims at an early
                     3   stage of litigation by simply examining the logic of the plaintiff’s theory of injury.”
                     4   PHILLIP E. AREEDA & HERBERT HOVENKAMP, ANTITRUST LAW: AN ANALYSIS OF
                     5   ANTITRUST PRINCIPLES AND THEIR APPLICATION ¶ 337 (5th ed., 2021 Cum. Supp.
                     6   2013-2020). The Ninth Circuit routinely affirms motions to dismiss Sherman Act
                     7   claims based on a plaintiff’s failure to plausibly allege the antitrust injury elements.
                     8   See, e.g., Somers v. Apple, Inc., 729 F.3d 953, 966 (9th Cir. 2013); Prime
                     9   Healthcare Servs., Inc. v. Serv. Emps. Int’l Union, 642 F. App’x 665, 666-67 (9th
                    10   Cir. 2016); Hip Hop Beverage Corp. v. Monster Energy Co., 733 F. App’x 380, 381
                    11   (9th Cir. 2018). Courts also routinely dismiss Cartwright Act claims based on a
                    12   plaintiff’s failure to plausibly allege antitrust injury. See, e.g., Marsh v. Anesthesia
                    13   Servs. Med. Grp., Inc., 200 Cal. App. 4th 480, 500 (Cal. Ct. App. 2011); California
                    14   Pharmacy Mgmt., LLC v. Zenith Ins. Co., No. SA-CV-09242-DOC-ANX, 2010 WL
                    15   11519328, at *8 (C.D. Cal. Dec. 1, 2010).
                    16         To survive a motion to dismiss under the Sherman or Cartwright Act, a
                    17   plaintiff must allege four elements: “(1) unlawful conduct, (2) causing an injury to
                    18   the plaintiff, (3) that flows from that which makes the conduct unlawful, and (4)
                    19   that is of the type the antitrust laws were intended to prevent.” Am. Ad Mgmt., Inc.
                    20   v. Gen. Tel. Co. of California, 190 F.3d 1051, 1055 (9th Cir. 1999) (Sherman Act);
                    21   see also Morrison, 66 Cal. App. 4th at 548 (antitrust injury under the Cartwright
                    22   Act requires a showing of “[2] injury [4] the antitrust laws were intended to
                    23   prevent, and [3] which flows from the invidious conduct which renders [1]
                    24   defendants’ acts unlawful”). AHF fails to allege any facts establishing the first,
                    25   third, or fourth element. Its Sherman and Cartwright Act claims must be dismissed.
                    26                1.     AHF Does Not Allege Any Unlawful Conduct
                    27         AHF labels the Prime-ESI collaboration “[h]orizontal price-fixing,” Compl. ¶
                    28   29, but the label does not make it so. See, e.g., Kendall v. Visa U.S.A., Inc., 518
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                    -5-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 15 of 29 Page ID #:123



                     1   F.3d 1042, 1047-48 (9th Cir. 2008) (affirming dismissal of Sherman Act § 1 claim
                     2   without leave to amend because “appellants pleaded only ultimate facts, such as
                     3   conspiracy, and legal conclusions”). AHF’s price-fixing allegation is missing a
                     4   fundamental element – an agreement to fix prices. AHF does not allege that Prime
                     5   and ESI jointly agreed upon any prices, let alone that they agreed together to fix a
                     6   uniform amount they were willing to pay pharmacies as reimbursement. Instead,
                     7   AHF alleges that the ESI-Prime collaboration provides an option for clients to
                     8   participate in ESI’s pharmacy network, which separately and independently
                     9   negotiated its own upstream pricing with pharmaceutical manufacturers and
                    10   negotiated and set its own reimbursement rates with pharmacies. Clients can still
                    11   choose either the rates that Prime negotiated, or rates that ESI alone negotiated.
                    12   ESI and Prime did not agree to fix any of these prices, they simply agreed to make
                    13   ESI’s (typically lower) rates available to Prime’s clients and there are no
                    14   evidentiary facts pled in the Complaint (beyond mere conclusions and labels) that
                    15   suggest otherwise.
                    16         In Gerlinger v. Amazon.com, Inc., plaintiff book buyers challenged an
                    17   agreement wherein Amazon operated Borders’ online bookshop. 311 F. Supp. 2d
                    18   838, 842 (N.D. Cal. 2004). The agreement provided that Amazon would set the
                    19   prices for books sold on Borders’ website, but that the website would continue to be
                    20   owned by Borders. Id. The district court “reject[ed] plaintiff's suggestion that
                    21   because the provision of the Agreement may have an effect on prices, that it is
                    22   automatically a per se illegal ‘price-fixing agreement.’” Id. at 846. It noted that
                    23   under the agreement “Amazon could sell a book at a lower price on the
                    24   Borders.com website than the price it would list the same book for on its own
                    25   Amazon.com site,” explaining that “[a]lthough there would be no apparent business
                    26   reason for doing so, this is still a relevant consideration in determining whether the
                    27   provision ‘fixes’ prices.” Id. at 848. Here, too, clients are not required to use ESI’s
                    28
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                  DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -6-                             MOTION TO DISMISS;
                                                                                        CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 16 of 29 Page ID #:124



                     1   rates but can choose to continue to use Prime’s negotiated rates. Even though all of
                     2   the clients chose to use ESI rates, they were not obligated to.
                     3         Since this is not a price-fixing agreement, AHF fails to allege unlawful
                     4   conduct under the Sherman Act. The same is true with respect to AHF’s
                     5   Cartwright Act claim, because “the standard for lawful competitive conduct” with
                     6   respect to price-fixing “is identical under both state and federal law.” Crown Oil
                     7   Corp. v. Superior Ct., 177 Cal. App. 3d 604, 611 (Cal. Ct. App. 1986) (quoting
                     8   Alton Box Bd. Co. v. Esprit de Corp., 682 F.2d 1267, 1274 n.11 (9th Cir. 1982)).
                     9                2.     AHF Does Not Allege Injury Which Flows From Allegedly
                                             Anticompetitive Conduct
                    10

                    11         AHF also cannot establish the third element of antitrust injury. If a plaintiff’s
                    12   injury “flows from aspects of the defendant’s conduct that are beneficial or neutral
                    13   to competition, there is no antitrust injury, even if the defendant’s conduct is
                    14   illegal per se.” Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1433 (9th Cir.
                    15   1995). Before the ESI-Prime collaboration, AHF agreed to accept certain
                    16   reimbursement rates from ESI. Compl. ¶ 18. AHF alleges that as a result of the
                    17   ESI-Prime collaboration, it now receives those negotiated ESI rates for drugs
                    18   dispensed to patients who are insured by Prime’s member plans. Id. ¶ 20; see also
                    19   id. ¶¶ 14, 19. Even if it were the case (which it is not) that the ESI-Prime
                    20   collaboration enables ESI and Prime to use their joint market power to impose
                    21   anticompetitively low reimbursement rates, the rates that AHF agreed to before the
                    22   collaboration could not reflect this anticompetitive conduct. Atl. Richfield Co., 495
                    23   U.S. at 334 (“injury, although causally related to an antitrust violation, nevertheless
                    24   will not qualify as ‘antitrust injury’ unless it is attributable to an anticompetitive
                    25   aspect of the practice under scrutiny”); Morrison, 66 Cal. App. 4th at 548
                    26   (affirming a demurrer because “[t]he plaintiff in a Cartwright Act proceeding must
                    27   show that an antitrust violation was the proximate cause of his injuries”).
                    28
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                    DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                    -7-                              MOTION TO DISMISS;
                                                                                          CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 17 of 29 Page ID #:125



                     1         The Ninth Circuit affirmed dismissal of antitrust claims brought by actors
                     2   Paul Newman and George Hill for a similar reason in Newman v. Universal
                     3   Pictures, 813 F.2d 1519 (9th Cir. 1987). In 1972, Newman and Hill entered into
                     4   contracts with Universal which provided that Universal would pay them a
                     5   contractually defined percentage of proceeds. Id. at 1521. Newman and Hill
                     6   alleged that in 1981, Universal conspired with other studios to minimize the
                     7   amounts paid to them and other artists. Id. The Ninth Circuit held that plaintiffs
                     8   had not alleged antitrust injury because their “fundamental problem” was that they
                     9   “entered into the contracts . . . before the alleged conspiracy arose,” meaning that
                    10   the conspiracy “could not have affected the competition for [their] services at the
                    11   time the contracts were made.” Id. at 1522; see also Orion Pictures Distr. Corp. v.
                    12   Syufy Enters., 829 F.2d 946, 949 (9th Cir. 1987) (no antitrust injury when “alleged
                    13   monopolization did not affect the competition to license [movie] at the time of
                    14   bidding for the movie”); Z Channel Ltd. P’ship v. HBO, Inc., 931 F.2d 1338, 1342-
                    15   43 (9th Cir. 1991) (reversing summary judgment decision based on the district
                    16   court’s finding that “[m]uch or all of the alleged harm . . . arose either from the
                    17   enforcement of . . . preexisting contract terms, or from the refusal to modify those
                    18   terms” because the plaintiff was actually “asserting an injury to competition that
                    19   postdates the anti-competitive activity of which it complains”). Here, too, any
                    20   alleged anticompetitive conduct could not have affected the negotiation for the
                    21   reimbursement rates AHF now receives. Therefore, AHF does not allege that any
                    22   lower rates it receives flow directly from a competition-reducing aspect of Prime’s
                    23   conduct, and it does not allege antitrust injury.
                    24                3.     AHF Does Not Allege That the Prime-ESI Collaboration
                                             Injured AHF In A Manner Which the Antitrust Laws Were
                    25                       Designed to Prevent
                    26         Finally, AHF must allege that its injury was “the type the antitrust laws were
                    27   intended to prevent.” Brunswick, 429 U.S. at 489. AHF alleges that the
                    28   reimbursement rates it receives after the ESI-Prime collaboration do not provide it
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                    -8-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 18 of 29 Page ID #:126



                     1   with as large of a profit margin as it used to enjoy. Compl. ¶¶ 20, 22. But AHF
                     2   does not allege any harm to competition more broadly. Without alleging harm to
                     3   competition, AHF cannot allege antitrust injury. See Pool Water Prods. v. Olin
                     4   Corp., 258 F.3d 1024, 1036 (9th Cir. 2001) (allegation that a “decrease in one
                     5   competitor’s market share” inadequate to allege antitrust injury under the Sherman
                     6   Act because it “affects competitors, not competition”); Evac v. Pataki, 89 F. Supp.
                     7   2d 250, 260 (N.D.N.Y. 2000) (granting motion to dismiss for lack of antitrust injury
                     8   under the Sherman Act where plaintiff did not allege that “Defendants’ actions
                     9   injured market-wide competition as opposed to [plaintiff]’s individual business”);
                    10   Marsh, 200 Cal. App. 4th at 495 (“[i]njury to an individual plaintiff is insufficient
                    11   to establish standing to assert antitrust violations” under the Cartwright Act); Song
                    12   Fi, Inc. v. Google, Inc., No. C 14-5080 CW, 2016 WL 1298999, at *6 (N.D. Cal.
                    13   Apr. 4, 2016) (“Plaintiffs have also insufficiently alleged that the alleged
                    14   conspiracy caused harm to competition.”); FashionPass, Inc. v. Rent the Runway,
                    15   Inc., No. CV 19-3537-GW(JCX), 2019 WL 3782332, at *3 (C.D. Cal. June 24,
                    16   2019) (dismissing Cartwright Act claim for lack of antitrust injury because “the
                    17   Court finds no allegations of harm to the market, or competition generally, in the
                    18   complaint”). Therefore, AHF’s antitrust claims must be dismissed.
                    19        B.     AHF’s Antitrust Claims Fail to Allege a Per Se Violation
                    20         AHF labels the Prime-ESI collaboration “[h]orizontal price-fixing,” which, it
                    21   claims, is “a per se unreasonable restraint of trade under the federal Sherman Act.”
                    22   Compl. ¶ 29. AHF seeks to avoid the presumptive rule of reason analysis with its
                    23   “[h]orizontal price-fixing” label. But AHF has it backwards. The label
                    24   “price fixing” is a “shorthand way of describing certain categories of business
                    25   behavior to which the per se rule has been held applicable,” not vice-versa. Broad.
                    26   Music, Inc. [BMI] v. Columbia Broad. Sys., Inc., 441 U.S. 1, 9 (1979). Although
                    27   “agreements among competitors to fix prices on their individual goods or services”
                    28   are prohibited per se, “easy labels do not always supply ready answers.” Id. at 8.
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -9-                              MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 19 of 29 Page ID #:127



                     1   Instead, a court must “characterize the challenged conduct as falling within or
                     2   without that category of behavior to which we apply the label ‘per se price fixing.’”
                     3   Id. at 9. The analysis is the same for AHF’s Cartwright Act claim. See Aguilar v.
                     4   Atl. Richfield Co., 92 Cal. Rptr. 2d 351, 393 (Cal. Ct. App.), aff'd, 25 Cal. 4th 826,
                     5   24 P.3d 493 (Cal. 2001), as modified (July 11, 2001) (citing BMI, evaluating the
                     6   “efficiency-enhancing purposes, and pro-competitive effects” of an alleged price
                     7   fix, and refusing to apply per se analysis to Cartwright Act claim); see also Marin
                     8   Cty. Bd. of Realtors, Inc. v. Palsson, 16 Cal. 3d 920, 931 (Cal. 1976) (“we hesitate
                     9   before mechanically applying a per se rule” to a Cartwright Act claim).
                    10         The Supreme Court recognizes that due to the “inherent limits on a court’s
                    11   ability to master an entire industry—and aware[ness] that there are often hard-to see
                    12   efficiencies attendant to complex business arrangements,” courts evaluating
                    13   Sherman Act claims “take special care not to deploy” per se analysis “until we have
                    14   amassed ‘considerable experience with the type of restraint at issue’ and ‘can
                    15   predict with confidence that it would be invalidated in all or almost all instances.’”
                    16   NCAA v. Alston, 141 S. Ct. 2141, 2156 (2021) (quoting Leegin Creative Leather
                    17   Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 886-87 (2007)); see also United States v.
                    18   Brown Univ. in Providence in State of R.I., 5 F.3d 658, 671 (3d Cir. 1993) (“[T]he
                    19   Court has been more hesitant to . . . apply a per se rejection to competitive restraints
                    20   imposed in contexts where the economic impact of such practices is neither one
                    21   with which the Court has dealt previously, nor immediately apparent.”). The same
                    22   analysis applies to Cartwright Act claims. See Dimidowich v. Bell & Howell, 803
                    23   F.2d 1473, 1482–83 (9th Cir. 1986), opinion modified on denial of reh'g, 810 F.2d
                    24   1517 (9th Cir. 1987) (“[T]he California Supreme Court does not apply a per se
                    25   approach to arrangements with which it is unfamiliar.”); Reynolds v. California
                    26   Dental Serv., 200 Cal. App. 3d 590, 597 (Cal. Ct. App. 1988) (citing BMI and
                    27   refusing to apply per se treatment to Cartwright Act claim where “neither the
                    28
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -10-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 20 of 29 Page ID #:128



                     1   federal nor California courts have had much exposure to the antitrust implications
                     2   of prepaid medical plans”).
                     3         Courts only apply per se analysis to arrangements which “obviously threaten
                     4   to reduce output and raise prices.” Alston, 141 S. Ct. at 2156; see also BMI, 441
                     5   U.S. at 19-20 (the “inquiry must focus on . . . whether the practice facially appears
                     6   to be one that would always or almost always tend to restrict competition and
                     7   decrease output . . . or instead one designed to increase economic efficiency and
                     8   render markets more, rather than less, competitive”) (cleaned up). For example, in
                     9   United States v. Trenton Potteries, the Supreme Court upheld per se analysis of an
                    10   agreement among 23 corporations to “fix and maintain uniform prices” for toilets
                    11   and to limit their sales to a certain set of “legitimate” buyers. 273 U.S. 392, 394
                    12   (1927); see also United States v. Socony–Vacuum Oil Co., 310 U.S. 150, 227-28
                    13   (1940) (applying per se treatment to a conspiracy between competitors to fix the
                    14   price of gasoline at supracompetitive rates).
                    15         By contrast, “[w]hen a defendant advances plausible arguments that a
                    16   practice enhances overall efficiency and makes markets more competitive, per se
                    17   treatment is inappropriate, and the rule of reason applies.” Paladin Assocs. v. Mont.
                    18   Power Co., 328 F.3d 1145, 1151 (9th Cir. 2003) (refusing to apply per se analysis);
                    19   see also NSS Labs, Inc. v. Symantec Corp., No. 18-CV-05711-BLF, 2019 WL
                    20   3804679, at *6 (N.D. Cal. Aug. 13, 2019) (dismissing plaintiff’s per se claims
                    21   because defendants’ “efficiency justification” was “plausible on its face”).
                    22   “Restraints that are not unreasonable per se are judged under the ‘rule of reason.’”
                    23   Ohio v. American Express Co., 138 S. Ct. 2274, 2284 (2018); see also Leegin, 551
                    24   U.S. at 885 (“rule of reason is the accepted standard”); Texaco Inc. v. Dagher, 547
                    25   U.S. 1, 5 (2006) (Supreme Court “presumptively applies rule of reason analysis”).
                    26   “The rule of reason requires courts to conduct a fact-specific assessment of market
                    27   power and market structure to assess the restraint’s actual effect on competition.”
                    28   American Express, 138 S. Ct. at 2284 (cleaned up).
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                  DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                  -11-                             MOTION TO DISMISS;
                                                                                        CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 21 of 29 Page ID #:129



                     1         Even if the Prime-ESI collaboration were viewed as an agreement on price
                     2   (which it is not), it should clearly be evaluated under the rule of reason because
                     3   Prime advances much more than “plausible” arguments that the collaboration
                     4   “enhances overall efficiency.” Paladin Assocs., 328 F.3d at 1151. AHF alleges
                     5   that as a result of the Prime-ESI collaboration, the health plans participating in
                     6   Prime “transition[ed] to ESI’s commercial and Medicaid pharmacy networks.”
                     7   Compl. ¶ 14. Specifically, AHF alleges that prior to the collaboration, AHF
                     8   received reimbursements from both Prime and ESI, and after the collaboration,
                     9   “AHF has been receiving reimbursements from Prime that are at [ESI]’s rates.” Id.
                    10   ¶¶ 18, 20. ESI will also “handl[e] negotiations for drugs on the pharmacy benefit.”
                    11   Compl. Ex. 4 at 25.4 Should this case proceed beyond the pleadings, Prime will
                    12   indeed show that this arrangement reduces costs within the system of delivering
                    13   pharmaceuticals to patients, including by reducing the duplication of the costs of
                    14   building and maintaining a pharmacy network. But even from the pleadings it
                    15   should be apparent that the Prime-ESI collaboration is not a naked price fixing
                    16   agreement. It is a business arrangement intended to lower costs to patients and
                    17   within the system. Indeed, an analysis cited in AHF’s Complaint predicts that the
                    18   FTC would “probably consider the Express Scripts-Prime deal to be pro-
                    19   competitive” because “the FTC will likely determine that the arrangement lowers
                    20   healthcare costs and will therefore be beneficial to consumers.” Compl. Ex. 8 at 43.
                    21   There is no reason to believe that it facially “appears to be one that would always
                    22   or almost always tend to restrict competition and decrease output.” BMI, 441 U.S.
                    23   at 19-20 (emphasis added). Instead, this is an arrangement that is “designed to
                    24

                    25   4
                           When evaluating this Motion to Dismiss, this Court may consider the exhibits to
                    26   the Complaint. See United States v. Ritchie, 342 F.3d 903, 907–08 (9th Cir. 2003)
                         (“A court may [] consider certain materials—documents attached to the complaint,
                    27   documents incorporated by reference in the complaint, or matters of judicial
                    28   notice—without converting the motion to dismiss into a motion for summary
  CROWELL
                         judgment.”).
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -12-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 22 of 29 Page ID #:130



                     1   increase economic efficiency and render markets more, rather than less,
                     2   competitive.” Id. at 20.
                     3         Another reason that the Prime-ESI collaboration should be evaluated under
                     4   the rule of reason is that it shares features with joint purchasing arrangements. In
                     5   joint purchasing arrangements, competitors join to make purchases to “achieve
                     6   economies of scale in purchasing.” Nw. Wholesale Stationers, Inc. v. Pac.
                     7   Stationery & Printing Co., 472 U.S. 284, 286 (1985). Like joint purchasing
                     8   arrangements, the Prime-ESI collaboration reduces costs by “integrat[ing]
                     9   transactional efficiencies, such as negotiating and transacting” with suppliers.
                    10   Castro v. Sanofi Pasteur Inc., No. CV 11-7178 (JLL), 2012 WL 12516573, at *6
                    11   (D.N.J. Dec. 20, 2012). While Prime disputes that any economies of scale in
                    12   purchasing affected AHF’s reimbursements, see Section II.A.2, this is the crux of
                    13   AHF’s allegation. Antitrust claims challenging joint purchasing arrangements are
                    14   evaluated under the rule of reason. Nw. Wholesale Stationers, 472 U.S. at 295-97.
                    15   This is because joint purchasing arrangements are “a conventional means of
                    16   reducing costs to participating members,” and do not indicate “anticompetitive
                    17   motives.” Langston Corp. v. Standard Reg. Co., 553 F. Supp. 632, 639 (N.D. Ga.
                    18   1982); see also W. Parcel Express v. UPS of Am., 190 F.3d 974, 976 (9th Cir. 1999)
                    19   (holding that “volume discount contracts are legal under antitrust law” and noting
                    20   that in Fedway Assocs., Inc. v. United States Treasury, Bureau of Alcohol, Tobacco
                    21   & Firearms, 976 F.2d 1416 (D.C. Cir. 1992), the DC Circuit held that “volume
                    22   discount contracts provide pro-competitive value”).
                    23         One additional reason to evaluate AHF’s claims under the rule of reason is
                    24   that the California Legislature recognizes “the public interest in ensuring that
                    25   citizens of this state receive high-quality health care coverage in the most efficient
                    26   and cost-effective manner possible,” and to that end, the Legislature has declared
                    27   “that the formation [of]. . . purchasing groups for the purpose of creating efficient-
                    28   sized contracting units be recognized as the creation of a new product within the
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -13-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 23 of 29 Page ID #:131



                     1   health care marketplace, and be subject, therefore, only to those antitrust
                     2   prohibitions applicable to the conduct of other presumptively legitimate
                     3   enterprises.” Cal. Bus. & Prof. Code § 16770(f)-(g). Indeed, AHF alleges that the
                     4   Prime-ESI collaboration creates a more efficient-sized contracting unit and does not
                     5   dispute that the collaboration provides California citizens with more cost-effective
                     6   health care. One California court applied § 16770 to hold that an allegation of
                     7   price-fixing under the Cartwright Act against an organization of competing dentists
                     8   would be judged under the rule of reason. Reynolds v. California Dental Serv., 200
                     9   Cal. App. 3d 590, 599–600 (Cal. Ct. App. 1988). Section 16770 also lends support
                    10   to evaluating AHF’s Sherman Act claim under the rule of reason – courts cannot
                    11   “predict with confidence that” a collaboration of this type “would be invalidated in
                    12   all or almost all instances,’” Alston, 141 S. Ct. at 2156, when the California
                    13   Legislature has specifically found the arrangement to be in the public interest.
                    14         C.     AHF’s Antitrust Claims Fail to Allege Sufficient Facts to State a
                                      Rule of Reason Violation
                    15

                    16         If this Court determines that AHF alleges antitrust injury and that its antitrust
                    17   claims must be evaluated under the rule of reason, it must dismiss those claims.
                    18   Because AHF’s Complaint proceeds under a per se theory only, AHF cannot
                    19   subsequently rely upon the rule of reason. “Plaintiffs must abide by the
                    20   consequences of [their] pleading decision and cannot, at its convenience, switch to
                    21   a theory not plead in the Complaint.” Bay Area Surgical Mgmt. LLC v. Aetna Life
                    22   Ins. Co., 166 F. Supp. 3d 988, 994 (N.D. Cal. 2015) (declining to allow plaintiffs to
                    23   argue per se liability in their motion to dismiss because “[p]laintiffs’ Complaint
                    24   expressly states that ‘Defendants’ arrangements are unlawful under the antitrust
                    25   laws when assessed under the Rule of Reason’”); see also Jain Irrigation, Inc. v.
                    26   Netafim Irrigation, Inc., 386 F. Supp. 3d 1308, 1316 (E.D. Cal. 2019) (dismissing
                    27   the alleged conspiracy after determining it was properly analyzed under the rule of
                    28   reason, respecting plaintiff’s decision to rely exclusively on per se liability).
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                    DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -14-                              MOTION TO DISMISS;
                                                                                          CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 24 of 29 Page ID #:132



                     1         Moreover, AHF does not plead facts it needs to state a Sherman Act Section
                     2   1 claim under the rule of reason which include: “(1) a contract, combination or
                     3   conspiracy among two or more persons or distinct business entities; (2) by which
                     4   the persons or entities intended to harm or restrain trade or commerce among the
                     5   several States, or with foreign nations; (3) which actually injures
                     6   competition.” Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1197 (9th Cir.
                     7   2012).
                     8         Section III.A.1 explains that AHF failed to plead facts establishing the
                     9   existence of an anticompetitive agreement between Prime and ESI, meaning that
                    10   AHF fails to plead (1) and (2). This is because in order to establish the requisite
                    11   intent for a Section 1 claim under a rule of reason analysis, a plaintiff must plead
                    12   facts that plausibly allege the existence of an illegal agreement to harm or restrain
                    13   trade—a court cannot “infer an anticompetitive agreement when factual allegations
                    14   just as easily suggest rational, legal business behavior.” name.space, Inc. v.
                    15   Internet Corp. for Assigned Names & Nos., 795 F.3d 1124, 1130 (9th Cir. 2015)
                    16   (cleaned up).
                    17         In order to plead element (3), AHF “must, at a minimum, sketch the outline
                    18   of the antitrust violation with allegations of supporting factual detail.” Les Shockley
                    19   Racing, Inc. v. Nat’l Hot Rod Ass’n, 884 F.2d 504, 507–08 (9th Cir. 1989). This
                    20   factual support must include either “the relevant geographic and product markets
                    21   and demonstration of the restraint’s anticompetitive effects within those markets”
                    22   or “proof of actual detrimental competitive effects such as output decreases or price
                    23   increases.” Id. at 508; see also American Express, 138 S. Ct. at 2285 (“courts
                    24   usually cannot properly apply the rule of reason without an accurate definition of
                    25   the relevant market”); Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1063 (9th Cir.
                    26   2001) (“Failure to identify a relevant market is a proper ground for dismissing a
                    27   Sherman Act claim.”). AHF does not allege any of the above, and its claim under
                    28   Section 1 of the Sherman Act must be dismissed. AHF’s Cartwright Act claim
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                  DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                  -15-                             MOTION TO DISMISS;
                                                                                        CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 25 of 29 Page ID #:133



                     1   “fails for the same reasons” – “the requirements to plead a claim under California's
                     2   Cartwright Act are patterned after section 1 of the Sherman Act.” Kelsey K. v. NFL
                     3   Enters., LLC, 757 F. App’x 524, 527 (9th Cir. 2018) (cleaned up).
                     4         D.     UCL Claim Must Be Dismissed
                     5         AHF fails to allege a viable unfair competition claim. Conduct that violates
                     6   California’s Unfair Competition statute includes any business act or practice which
                     7   is either: 1) unlawful; 2) unfair; or 3) fraudulent. Bus. & Prof. Code, § 17200.
                     8   AHF alleges that the Prime-ESI collaboration is either unlawful because it is in
                     9   violation of California and federal antitrust laws, or that it is unfair. Compl. ¶ 40.
                    10         AHF’s failure to allege a viable Sherman or Cartwright Act claim is fatal to
                    11   its attempt to state UCL claim under the unlawful prong. AHF’s UCL claim is
                    12   predicated on violations of California or federal antitrust laws, which fail as
                    13   explained above in Sections III.A-C. See Orchard Supply Hardware (“OSH”) LLC
                    14   v. Home Depot USA, Inc., 939 F. Supp. 2d 1002, 1011 (N.D. Cal. 2013)
                    15   (determining activity was not unlawful under UCL because plaintiff failed to plead
                    16   a viable Sherman or Cartwright Act claim); see also Farmers Ins. Exchange v.
                    17   Superior Court, 2 Cal. 4th 377, 383 (1992) (UCL “borrows [and proscribes]
                    18   violations of other laws,” and “does not itself proscribe specific conduct”).
                    19         AHF’s failure to plead a viable Sherman or Cartwright Act claim is also fatal
                    20   to its claim that the Prime-ESI collaboration was “unfair” under the UCL. In OSH,
                    21   after dismissing plaintiff’s Sherman and Cartwright Act claims, the court dismissed
                    22   plaintiff’s claim that the conduct alleged was “unfair” under the UCL because “acts
                    23   permissible under antitrust laws cannot be deemed unfair under the unfair
                    24   competition law, at least not where a plaintiff alleges that the acts are unfair for the
                    25   same reason it argues that they violate antitrust law.” 939 F. Supp. 2d at 1011
                    26   (citation and internal quotations omitted); see also Chavez v. Whirlpool Corp., 93
                    27   Cal. App. 4th 363, 375 (2001) (dismissing Cartwright Act and “unfair” UCL claims
                    28   and noting that “the determination that the conduct is not an unreasonable restraint
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -16-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 26 of 29 Page ID #:134



                     1   of trade necessarily implies that the conduct is not ‘unfair’ toward
                     2   consumers”). Similarly, here, AHF provides no additional factual allegations for its
                     3   claim that the Prime-ESI collaboration is “unfair” beyond that it allegedly violated
                     4   the Sherman and Cartwright Acts. Compl. ¶ 40. Therefore, because AHF’s
                     5   Sherman and Cartwright Acts must be dismissed, its UCL “unfair” claim must also
                     6   be dismissed.
                     7         E.    AHF’s Claim Violates The Parties’ Contract for A One-Year
                                     Limitation on Actions
                     8

                     9         When it signed the PPA, AHF agreed that “any action” brought:
                    10                in relation to an alleged breach of this Agreement will be
                    11                commenced within one (1) year of the date of the breach,
                                      without regard to the date the breach is discovered. Any
                    12
                                      action or arbitration not brought within that one year time
                    13                period will be barred, without regard to any other
                                      limitations period set forth by law or statute.
                    14

                    15   RJN, Ex. 1 § 9.10.3. The PPA also provides that it “will be construed in

                    16   accordance with the laws of the state of Minnesota, except when federal law

                    17   applies.” Id. § 9.9. Under Minnesota law, the “[p]arties may limit the time within

                    18   which legal claims may be brought [including through arbitration] provided there is

                    19   no statute specifically prohibiting the use of a different limitations period in such a

                    20   case and the time fixed is not unreasonable.” Peggy Rose Revocable Trust v.

                    21   Eppich, 640 N.W. 2d 601, 606-07 (Minn. 2002). No statute prohibits this

                    22   reasonable limitation period.

                    23         All of AHF’s claims are based on injuries that occurred more than one year

                    24   in advance of filing its Complaint. Zenith Radio Corp. v. Hazeltine Research, Inc.,

                    25   401 U.S. 321, 338 (1971) (“Generally, [an antitrust cause] of action accrues and the

                    26   statute begins to run when a defendant commits an act that injures a plaintiff's

                    27   business. . . .”); see also Ryan v. Microsoft Corp., 147 F. Supp. 3d 868, 879-80

                    28   (N.D. Cal. 2015) (holding that plaintiff’s claims began to accrue when defendants
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -17-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 27 of 29 Page ID #:135



                     1   entered into the agreement to suppress wages); Garrison v. Oracle Corp., 159 F.
                     2   Supp. 3d 1044, 1062-63 (N.D. Cal. 2016) (same). AHF admits that the Prime-ESI
                     3   collaboration was announced on December 19, 2019, that Prime sent out a mass
                     4   mailing announcing transition on January 2, 2020, and that AHF has been receiving
                     5   reimbursements from Prime at ESI’s rates “since April 2020.” Compl. ¶¶ 9, 14, 20;
                     6   see also id. ¶ 19 (Prime released a “crosswalk table informing pharmacies”
                     7   regarding rates under the Prime-ESI collaboration in or around April 2020).
                     8   Therefore, the Complaint must also be dismissed on this basis.
                     9         F.     AHF Should Be Compelled To Arbitrate If Its Claims Are Not
                                      Dismissed
                    10

                    11         To the extent the Court declines to dismiss the Complaint at the pleading
                    12   stage, AHF should be compelled to arbitrate its disputes. In re Animation Workers
                    13   Antitrust Litig., 87 F. Supp. 3d 1195, 1206, 1218 (N.D. Cal. 2015) (granting
                    14   defendants’ motion to dismiss when defendants simultaneously brought motions to
                    15   dismiss and compel arbitration); see also Galvez v. Anheuser-Busch, Ltd. Liab. Co.,
                    16   No. 2-17-00621 WBS DB, 2017 U.S. Dist. LEXIS 152382, at *3 (E.D. Cal. Sep.
                    17   19, 2017) (declining to “reach defendant’s alternative motions to compel arbitration
                    18   or to stay these proceedings” after granting the defendant’s motion to dismiss).
                    19         When it signed the PPA, AHF agreed to arbitrate “all disputes between the
                    20   parties that arise out of th[e] Agreement, including those based on federal and state
                    21   law,” and to submit disputes “to binding arbitration in accordance with the rules
                    22   and procedures of the American Arbitration Association.” RJN, Ex. 1 § 9.10.2.
                    23   AHF’s claims in this lawsuit arise out of and relate to the PPA, which “sets forth
                    24   the terms and conditions under which [AHF] will provide benefits in Prime’s
                    25   pharmacy networks.” RJN, Ex. 1 at 1. They are thus directly within the scope of
                    26   the arbitration clause. See Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 721 (9th Cir.
                    27   1999) (“To require arbitration, [plaintiff]’s factual allegations need only ‘touch
                    28   matters’ covered by the contract containing the arbitration clause and all doubts are
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                  DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                  -18-                             MOTION TO DISMISS;
                                                                                        CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 28 of 29 Page ID #:136



                     1   to be resolved in favor of arbitrability.”); see also Mitsubishi Motors Corp. v. Soler
                     2   Chrysler-Plymouth, Inc., 473 U.S. 614, 624 n.13 (1985) (“arising out of or relating
                     3   to” is a “broad clause” applicable to antitrust claims). For example, in Nokia Corp.
                     4   v. AU Optronics Corp. (In re TFT-LCD (Flat Panel) Antitrust Litig., the court
                     5   compelled arbitration of antitrust claims based on language covering disputes
                     6   “related to” the agreement because “[a]ll of the purchases at issue in this case were
                     7   made under the [agreement]” and the “antitrust claims therefore ‘touch matters’
                     8   addressed by the agreement.” No. C 09-05609 SI, 2011 WL 2650689, at *5 (N.D.
                     9   Cal. July 6, 2011); see also Bischoff v. DirecTV, Inc., 180 F. Supp. 2d 1097, 1103
                    10   (C.D. Cal. 2002). “[A]s a matter of federal law, any doubts concerning the scope of
                    11   arbitrable issues should be resolved in favor of arbitration.” Moses H. Cone Mem’l
                    12   Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25 (1983).
                    13         In the alternative, this Court should allow the arbitrator to decide
                    14   arbitrability. “[W]here,” as here, RJN, Ex. 1 § 9.10.2, “the parties’ agreement to
                    15   arbitrate includes an agreement to follow a particular set of arbitration rules—such
                    16   as the AAA Rules—that provide for the arbitrator to decide questions of
                    17   arbitrability, the presumption that courts decide arbitrability falls away, and the
                    18   issue is decided by the arbitrator.” Bank of America, N.A. v. Micheletti Family
                    19   Partnership, No. 08–02902(JSW), 2008 WL 4571245, at *6 (N.D. Cal. Oct. 14,
                    20   2008); see also Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524,
                    21   528 (2019) (treating contract incorporating AAA’s rules as providing for arbitrator
                    22   to decide arbitrability). If the court finds that the parties to the agreement intended
                    23   to delegate the power to decide arbitrability to an arbitrator, then the court
                    24   “possesses no power to decide the arbitrability issue . . . even if the court thinks that
                    25   the argument that the arbitration agreement applies to a particular dispute is wholly
                    26   groundless.” Henry Schein, Inc., 139 S. Ct. at 529.
                    27         Therefore, if this Court declines to dismiss the complaint on grounds outlined
                    28   in Sections III.A-E, Prime respectfully requests that AHF be compelled to 1)
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                   DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                   -19-                             MOTION TO DISMISS;
                                                                                         CASE NO. 2:21-CV-04979-DSF-AGR
         Case 2:21-cv-04979-DSF-AGR Document 18 Filed 08/13/21 Page 29 of 29 Page ID #:137



                     1   arbitrate its dispute pursuant to the PPA’s terms; or 2) have an arbitrator decide this
                     2   question of arbitrability.
                     3   IV.   Conclusion
                     4         For the reasons explained above, Defendant Prime seeks an order pursuant to
                     5   Rule 12(b)(6) dismissing with prejudice the Complaint, or in the alternative, to
                     6   compel arbitration of Plaintiff’s claims.
                     7

                     8   Dated: August 13, 2021                         CROWELL & MORING LLP
                     9

                    10                                                  By:/s/ Jason C. Murray
                                                                           Jason C. Murray
                    11                                                     Shira Rebecca Liu
                                                                           David Charles Griffith
                    12
                                                                            Attorneys for Defendant
                    13                                                      Prime Therapeutics LLC
                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
  CROWELL
& MORING LLP
ATTORNEYS AT L AW
                                                                                    DEFENDANT PRIME THERAPEUTICS LLC’S
                                                                     -20-                            MOTION TO DISMISS;
                                                                                          CASE NO. 2:21-CV-04979-DSF-AGR
